1. (a) A contract to perform certain work on a building which is entire and not divisible can not be recovered upon by the contractor until he has performed the work in accordance with the terms of the contract.
(b) Waiver is a voluntary relinquishment of some known right, benefit, or advantage, which, except for such waiver, the party otherwise would have enjoyed.
2. The remaining special ground of the amended motion for a new trial is without merit.
                         DECIDED JULY 16, 1948.
S. G. Goodner, hereinafter referred to as the plaintiff, brought an action in the Superior Court of Whitfield County against the plaintiff in error, R. E. W. Barnes seeking a judgment in the sum of $480 claimed to be the balance due on a contract by the terms of which the plaintiff was to stucco a part of a building of the defendant. The plaintiff contends that he has completed the contract and is entitled to a judgment for this unpaid balance. The plaintiff also sought a special judgment for a lien on the building.
The defendant denies liability, contending that the plaintiff has not performed and completed his part of the contract, in that he has not waterproofed the stucco as he was required to do under the terms of the contract, and that after some rains 31 leaks developed in the walls, resulting in the interior of the building being wet and water standing on its floor.
The amount to be paid for the completed job was $1000, one half of which was paid when the stucco was put on the building by the plaintiff. The latter also used some sand of the defendant who was credited with $20, leaving a balance of $480.
By amendment to his answer, and by way of a cross-action, the defendant further contends that he had to go over the work the plaintiff had done in order to get his building waterproofed; that this cost $790.65 causing the job to cost him $1290.65 instead of the $1000 contracted for, and that therefore, the defendant owes him $290.65 for which he sues.
The jury returned a verdict in favor of the plaintiff for $283.65, and for a special lien. Judgment was accordingly entered.
The defendant filed a motion for a new trial on the general *Page 449 
grounds which was later amended by adding three special grounds.
The trial court overruled this motion, and this judgment is assigned as error.
1. Special ground one of the amended motion for a new trial contends that the trial court erred in refusing to charge upon timely request Code § 20-112 as follows: "A contract may be either entire or severable. In the former the whole contract stands or falls together. In the latter, the failure of a distinct part does not void the remainder. The character of the contract in such case is to be determined by the intention of the parties."
Special ground two of the amended motion for a new trial contends that the trial court erred in refusing to charge upon timely request the following: "I charge you that where a contract is entered into by which one of the parties agrees to furnish materials and do certain construction work in a workmanlike manner, the undertaking is an entire one, and in the absence of proof of acceptance of part performance, there can be no recovery on the contract for labor performed or materials furnished if there is a failure on the part of the contractor to perform the work in accordance with the contract."
That the contract provided that the stucco was to be waterproof is not in dispute, both the plaintiff and the defendant having so testified. The pleadings put in issue the question of whether or not the same actually was waterproof after the plaintiff left the job as a completed one. The plaintiff testified that the stucco was waterproof. The defendant and a number of his witnesses testified to the contrary. Accordingly, on this disputed issue the jury would have been authorized to find that the work was not completed according to the terms of the contract. In fact, their verdict being much less than the balance due for the completed contract, indicates they did so find. Therefore, if the contract is entire and not severable, the trial court erred in refusing the timely requests of the defendant to charge, provided the conduct of the defendant did not amount to a waiver of the principle of law contained in Code § 20-112. *Page 450 
At least a part of the following quotation from Broxton v.Nelson, 103 Ga. 327 (30 S.E. 38, 68 Am. St. Rep. 97), is set forth in briefs of counsel for both parties: "This was an entire contract, and not divisible. Under its terms the plaintiff obligated himself to build four houses, and the defendant in turn obligated himself to pay a gross sum therefor. Story in his work on Contracts (5th ed. vol. 1, § 26) says: `An entire contract is a contract the consideration of which is entire on both sides. The entire fulfillment of the promise by either, in the absence of any agreement to the contrary, or waiver, is a condition precedent to the fulfillment of any part of the promise by the other. Whenever, therefore, there is a contract to pay a gross sum for a certain and definite consideration, the contract is entire, and is not apportionable either at law or in equity." (Italics ours.) See also Hunnicutt v. Van Hoose, 111 Ga. 518
(36 S.E. 669); Collins v. Frazier, 23 Ga. App. 236
(98 S.E. 188).
Counsel for the plaintiff contends that a letter, in evidence, which the defendant wrote the plaintiff while ill in Florida, in which he states, "The job is nicely done and I thank you," amounts to a waiver of the principle of law contained in Code § 20-112, and cites the foregoing quoted part of the Broxton
case, supra, with emphasis on the words "or waiver" contained therein.
   In Gray Lumber Co. v. Harris, 8 Ga. App. 70, 76
(68 S.E. 749), Judge Powell, speaking for the court, defines waiver as follows: "Waiver is a voluntary relinquishment of some known right, benefit, or advantage, which, except for such waiver, the party otherwise would have enjoyed." See also Mutual LifeInsurance Co. v. Durden, 9 Ga. App. 797 (72 S.E. 295);Plumer v. Continental Casualty Co. 12 Ga. App. 594
(77 S.E. 917); Kennedy v. Manry, 6 Ga. App. 816 (3), 819 (66 S.E. 29).
The evidence does not authorize the conclusive finding that at the time the defendant wrote the letter from Florida he knew this stucco on his building in Whitfield County, Georgia was not waterproof. It can not, therefore, be held as a matter of law, that he waived the principle of law contained in § 20-112 of the Code, and the refusal of the trial court to charge as requested in accordance with special grounds one and two of the amended motion for a new trial is error requiring a reversal of the case.
2. In special ground three of the amended motion for a new *Page 451 
trial the defendant contends that the trial court erred in failing to charge without request Code § 20-310, dealing with total and partial failure of consideration. Error is assigned upon the failure of the court to charge, both as to total failure and partial failure. The evidence is undisputed that the work done by the plaintiff was utilized by the defendant: that although $520 was paid therefor, it was not entirely worthless; that after it was done, the defendant got a completed job by paying out $790.65 more and using what was done, this being less than the $1000 sum contracted for originally. It is therefore not error to fail to charge on total failure of consideration, and this being included in the assignment of error, the same is without merit.
The judgment of the trial court overruling the motion for a new trial as amended is error for the reasons set out in the first headnote and first division of this decision.
Judgment reversed. MacIntyre, P. J., and Gardner, J.,concur.